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                    13

                    14                               UNITED STATES DISTRICT COURT

                    15                            NORTHERN DISTRICT OF CALIFORNIA

                    16                                      SAN FRANCISCO DIVISION

                    17   MARK SCHOBINGER, on behalf of himself             Case No. 3:23-cv-03007-VC
                         and all others similarly situated,
                    18                                                    DEFENDANT’S RESPONSE TO
                                              Plaintiff,                  PLAINTIFF’S ADMINISTRATIVE
                    19                                                    MOTION TO CONSIDER WHETHER
                                       vs.                                ANOTHER PARTY’S MATERIAL
                    20                                                    SHOULD BE SEALED
                         TWITTER, INC. and X CORP.,
                    21
                                              Defendants.
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MORGAN, LEWIS &                                                                            DEFENDANT’S RESPONSE TO
 BOCKIUS LLP                                                                     PLAINTIFF’S ADMINISTRATIVE MOTION
 ATTORNEYS AT LAW
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                     1          Pursuant to Civil Local Rule 79-5(f)(3), Defendant X Corp., on its own behalf and as

                     2   successor-in-interest to Twitter, Inc. (“Defendant” or “X Corp.”), submits this response to

                     3   Plaintiff’s Administrative Motion to Consider Whether Another Party’s Material Should Be Sealed.

                     4   ECF No. 76. As explained below, Defendant satisfies both the “good cause” and “compelling

                     5   reasons” standards for sealing portions of Exhibits 6, 7, 9, 10, 11, and 12 to Plaintiff’s Motion for

                     6   Class Certification (the “Motion”).

                     7     I.   LEGAL STANDARD

                     8          A District Court has “broad discretion to permit sealing of court documents for, inter alia,

                     9   the protection of ‘a trade secret or other confidential research, development, or commercial

                    10   information.’” In re Yahoo Mail Litig., 2015 WL 12990210, at *1 (quoting Fed. R. Civ. P.

                    11   26(c)(1)(G)). Under Ninth Circuit law, the sealing of records for non-dispositive motions requires

                    12   a showing of “good cause,” while the sealing of records for dispositive motions requires a showing

                    13   of “compelling reasons.” See, e.g., Pintos v. Pac. Creditors Ass’n, 605 F.3d 665, 678 (9th Cir.

                    14   2010). The Ninth Circuit has yet to decide whether a motion for class certification is a dispositive

                    15   or non-dispositive motion, and courts within the Northern District of California are split on this

                    16   question. Compare In re Yahoo Mail Litig., 2015 WL 12990210, at *1 (N.D. Cal. June 8, 2015)

                    17   (finding that motions for class certification are generally considered non-dispositive and applying

                    18   the good cause standard), with Hyams v. CVS Health Corp., 2023 WL 2960009, at *2 (N.D. Cal.

                    19   Mar. 15, 2023) (applying the “compelling reasons” standard to grant a motion to seal exhibits filed

                    20   in support of a motion for class certification).

                    21          The Court should apply the “good cause” standard here because, consistent with analogous

                    22   Northern District case law, Plaintiff’s class certification motion is only tangentially related to the

                    23   merits of his case. See, e.g., Rodriguez v. Google LLC, 2024 WL 42537, at *1 (N.D. Cal. Jan. 3,

                    24   2024) (“Districts in the Ninth Circuit generally treat motions for class certification as non-

                    25   dispositive.”); Parducci v. AMCO Ins. Co., 2021 WL 5908379, at *16 (N.D. Cal. Dec. 14, 2021)

                    26   (“Parducci’s first motion to seal was filed with his motion for class certification. Because this

                    27   motion is at most tangentially related to the underlying cause of action, the good cause standard

                    28   applies.”); In re High-Tech Emp. Antitrust Litig., 2013 WL 5486230, at *2 (N.D. Cal. Sept. 30,
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                     1   2013) (“As Plaintiffs’ Motion for Class Certification is a non-dispositive motion, the Court finds

                     2   that the parties need only demonstrate ‘good cause’ in order to support their requests to seal.”). The

                     3   information X seeks to seal has no relevance to or bearing upon the ultimate disposition of

                     4   Plaintiff’s Motion; specifically, Plaintiff’s Motion does not rely on or cite to the portions of the

                     5   Exhibits sought be sealed. See ECF No. 75. In any event, sealing is warranted under either standard.

                     6    II.       ARGUMENT

                     7              Defendant has both good cause and compelling reasons to seal the portions of Exhibits 6,

                     8   7, 9, 10, 11, and 12 that contain confidential financial information related to X’s labor costs as well

                     9   as information regarding competitively sensitive business strategies and planning. See Declaration

                    10   of Walter Gilbert (“Gilbert Decl.”):

                    11             Exhibit 6 (ECF 76-8) is a copy of an email chain that discloses confidential financial

                    12   information and competitively sensitive information regarding the accrual for bonuses under

                    13   Twitter’s Performance Bonus Plan. Gilbert Decl., ¶ 6.

                    14             Exhibit 7 (ECF 76-9) is a copy of an email chain that discloses confidential company

                    15   financial figures and competitively sensitive information. Id., ¶ 7.

                    16             Exhibit 9 (ECF 76-11) is a copy of an email chain that discloses financial figures and

                    17   competitively sensitive information regarding the accrual for bonuses under Twitter’s Performance

                    18   Bonus Plan. Id., ¶ 8.

                    19             Exhibit 10 (ECF 76-12) is a copy of a document that discloses financial figures and contains

                    20   competitively sensitive information related to compensation, bonuses, continued benefits, and

                    21   equity vesting. Id., ¶ 9.

                    22             Exhibit 11 (ECF 76-13) is a copy of a document that discloses detailed headcount

                    23   information after Elon Musk acquired X and took the company private. Id., ¶ 10.

                    24             Exhibit 12 (ECF 76-14) is a copy of an email chain that discloses information about

                    25   investments and financial planning, headcount planning, accounts receivable, and credit facilities.

                    26   Id., ¶ 11.

                    27              These documents contain precisely the type of sensitive information that, if published, could

                    28   cause “unfair advantage and irreparably harm [d]efendant” because it could be used by a competitor
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                     1   to gain competitive advantage. Gilbert Decl. ¶¶ 12-13. The financial and headcount figures

                     2   contained in Exhibits 6, 7, 9, 10, 11, and 12 are confidential and non-public. Id., ¶ 12. Public

                     3   disclosure of these figures may cause competitive harm to X and place it at a disadvantage in the

                     4   market.   For example, X’s competitors could use the information to ascertain the average

                     5   compensation that X provides to its employees, including the salaries and commissions it offers,

                     6   and the value of its equity and benefits packages, and use this information to negatively impact X,

                     7   including its ability to hire and retain talent. Id. In addition, these exhibits contain sensitive and

                     8   non-public business information related to X’s financial and strategic planning. Id., ¶ 13. Public

                     9   disclosure of this information, too, may harm X because third-party vendors could use this

                    10   information to gain an advantage in negotiating with X for services and X’s competitors could use

                    11   it to gain a competitive advantage on the market. Id. Good cause exists to maintain them under

                    12   seal. See, e.g., Hart v. U.S. Bank NA, 2013 WL 5965637, at *10 (D. Ariz. Nov. 8, 2013) (finding

                    13   good cause to seal an “internal policy and guideline unique to [d]efendant and not public

                    14   knowledge” because, if made public, the document “could provide competitors with an unfair

                    15   advantage and irreparably harm [d]efendant in terms of lost competitive advantage” (alterations

                    16   and citation omitted)).

                    17          Courts also routinely seal this type of information under the “compelling reasons” standard

                    18   that applies to dispositive motions. See, e.g., Fed. Trade Comm’n v. Qualcomm Inc., 2019 WL

                    19   95922, at *3 (N.D. Cal. Jan. 3, 2019) (“[T]o the extent that the instant motion seeks to seal

                    20   information that, if published, may harm [defendant] or third parties’ competitive standing and

                    21   divulges terms of confidential contracts, contract negotiations, or trade secrets, the Court agrees

                    22   with the parties that compelling reasons exist to seal this information.”); Baird v. BlackRock

                    23   Institutional Tr. Co., 403 F. Supp. 3d 765, 792 (N.D. Cal. Sept. 3, 2019) (recognizing “[c]ourts

                    24   have found that ‘confidential business information’ in the form of . . . financial terms, details of

                    25   confidential licensing negotiations, and business strategies satisfies the compelling reasons

                    26   standard” (internal quotations omitted)) (emphasis added); Milliner v. Bock Evans Fin. Counsel,

                    27   Ltd., 2020 WL 1492692, at *2 (N.D. Cal. Mar. 27, 2020) (sealing “highly negotiated agreement”

                    28   that would “expose [litigant] to competitive harm” if publicly disclosed); In re Elec. Arts Inc., 298
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                     1   F. App’x 568, 569 (9th Cir. 2008) (reversing lower court’s failure to seal financial terms of 2006

                     2   licensing agreement because court has power to insure records are not used “as source of business

                     3   information that might harm a litigant’s competitive strategy”); Optronic Technologies, Inc. v.

                     4   Ningbo Sunny Elec. Co., Ltd., 2018 WL 6592784, *3-4 (N.D. Cal. Dec. 14, 2018) (sealing email

                     5   chain that discloses pricing details and “reveals business . . . strategies,” which, “if disclosed, could

                     6   cause [] competitive harm,” and where also email’s “contents (as opposed to the date of its

                     7   production) are not particularly pertinent to the matters raised in Orion’s motion”).

                     8   III.    CONCLUSION

                     9           For these reasons, the Court should maintain under seal the portions of Exhibits 6, 7, 9, 10,

                    10   11, and 12 identified in this motion and the Gilbert Declaration. With the Court’s permission, X

                    11   will file more redacted copies of Exhibits 6, 7, 9, 10, 11, and 12 that redact only the sensitive

                    12   business information identified in this motion to seal and the supporting Gilbert Declaration.

                    13
                         Dated: September 3, 2024                  MORGAN, LEWIS & BOCKIUS LLP
                    14

                    15                                             By    /s/ Eric Meckley
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                    17
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